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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            TERRE HAUTE DIVISION


RICHARD W. FELKER,                          )
THOMAS W. FELKER,                           )
GINA L. BOGDAN, and                         )
BROCK THUIS,                                )
individually and on Behalf                  )
of Others Similarly Situated,               )
                                            )
                         Plaintiffs,        )
                                            )
                  v.                        )     2:05-cv-183-WGH-LJM
                                            )
SOUTHWESTERN EMERGENCY                      )
MEDICAL SERVICE, INC.,                      )
                                            )
                         Defendant.         )



             FINDINGS OF FACT AND CONCLUSIONS OF LAW
             IN SUPPORT OF THE DAMAGE DETERMINATION


I.    Findings of Fact and Conclusions of Law Under Plaintiffs’ Breach of
      Contract Claims:

      1. This court has previously concluded that Defendant breached its

“Intermediate EMT Contracts” with Richard Felker, Thomas Felker, and Brock

Thuis by failing to pay each of them at a rate of at least $9.00 per hour after each

signed his contract.

      2. The parties have agreed to assume these contracts were signed on June

1, 2004.

      3. The parties agree that Richard Felker was not paid wages under the

contract of $1,947.17 and, with the application of the liquidated damages penalty

under Indiana’s wage payment statute, liquidated damages are in the amount of
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$3,894.34. Therefore, Richard Felker is entitled to a judgment under the breach

of contract and Indiana wage payment statute in the amount of $5,841.51.

      4. Thomas Felker was not paid wages pursuant to the contract in the total

amount of $2,712.49. The liquidated damages due to Thomas Felker for failing to

pay this wage rate amount is $5,424.98. Therefore, the total amount due to

Thomas Felker is $8,137.47.

      5. Brock Thuis was not paid wages pursuant to the contract in the total

amount of $991.71. Applying the liquidated damages amount due under the

statute, he is due liquidated damages in the amount of $1,983.42. Therefore, the

total amount due to Brock Thuis is $2,975.13.


II.   Findings of Fact and Conclusions of Law Under Plaintiffs’ FLSA Claims

      6. The only evidence before this court which relates to the hours worked by

the various Plaintiffs is contained in Damages Exhibit 1.

      7. The Magistrate Judge concludes that the summary of damages for

Richard Felker (Plaintiffs’ Exhibit 2), Thomas Felker (Plaintiffs’ Exhibit 4), Gina

Bogdan (Plaintiffs’ Exhibit 5), and Brock Thuis (Plaintiff’s Exhibit 6) are accurate

summaries derived from such records as were kept by the Defendant in this case.

The FLSA requires employers to make, keep, and preserve records of the

individuals they employ and their wages, hours, and other conditions of

employment. 29 U.S.C. § 211(c).

      8. According to the United States Supreme Court case of Henderson v. Mt.

Clemens Pottery Company, 328 U.S. 680, 66 S.Ct. 1187 (1946):



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              . . . . An employee who brings suit under . . . the Act for unpaid
      . . . overtime compensation, together with liquidated damages, has the
      burden of proving that he performed work for which he was not
      properly compensated. The remedial nature of this statute and the
      great public policy which it embodies, however, militate against
      making that burden an impossible hurdle for the employee. Due
      regard must be given to the fact that it is the employer who has the
      duty under § 11(c) of the Act to keep proper records of wages, hours
      and other conditions and practices of employment and who is in
      position to know and to produce the most probative facts concerning
      the nature and amount of work performed.

                                       *****

             When the employer has kept proper and accurate records the
      employee may easily discharge his burden by securing the production
      of those records. But where the employer’s records are inaccurate or
      inadequate and the employee cannot offer convincing substitutes a
      more difficult problem arises. The solution, however, is not to
      penalize the employee by denying him any recovery on the ground
      that he is unable to prove the precise extent of the uncompensated
      work. Such a result would place a premium on an employer’s failure
      to keep proper records in conformity with his statutory duty; it would
      allow the employer to keep the benefits of an employee’s labors
      without paying due compensation as contemplated by the Fair Labor
      Standards Act. In such a situation we hold that an employee has
      carried out his burden if he proves that he has in fact performed work
      for which he was improperly compensated and if he produces
      sufficient evidence to show the amount and extent of that work as a
      matter of just and reasonable inference. The burden then shifts to
      the employer to come forward with evidence of the precise amount of
      work performed or with evidence to negative [sic] the reasonableness
      of the inference to be drawn from the employee’s evidence. If the
      employer fails to produce such evidence, the court may then award
      damages to the employee, even though the result be only
      approximate.

Id., 328 U.S. 686-88.

      9. In this case, the Magistrate Judge finds that the Defendant’s records are

inadequate or incomplete, and further finds that the Plaintiffs have brought

forward such evidence as is available and is reasonable under the circumstances



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to establish that they worked certain hours claimed. The burden has therefore

shifted to the Defendant to bring forward additional information to show that the

inferences drawn by the Plaintiffs are not reasonable.

     10. The issue before this court has to do with circumstances under which

the Plaintiffs were required to remain on duty for periods of 24 hours or more.

The FLSA regulation regarding such compensation is found at 29 C.F.R. § 785.22:

      Duty of 24 hours or more.

      (a) General. Where an employee is required to be on duty for 24
      hours or more, the employer and the employee may agree to exclude a
      bona fide regularly scheduled sleeping period of not more than 8
      hours from hours worked, provided adequate sleeping facilities are
      furnished by the employer and the employee can usually enjoy an
      uninterrupted night’s sleep. If sleeping period is of more than 8
      hours, only hours will be credited. Where no express or implied
      agreement to the contrary is present, the 8 hours of sleeping time and
      lunch periods constitute hours worked.

      (b) Interruptions of sleep. If the sleeping period is interrupted by a
      call to duty, the interruption must be counted as hours worked. If the
      period is interrupted to such an extent that the employee cannot get a
      reasonable night’s sleep, the entire period must be counted. For
      enforcement purposes, the Divisions have adopted a rule that if the
      employee cannot get at least 5 hours’ sleep during the scheduled
      period then entire time is working time.

     11. There is no express agreement before the court that the Defendant

allowed its employees to “regularly” schedule eight-hour sleep breaks during the

course of a 24-hour shift, nor did the Defendant provide scheduled meal breaks.

The evidence from all witnesses was consistent that the employees were allowed to

sleep when time was available and take meal breaks during such times as were

available, depending upon the schedule of duties for a particular evening. The

Magistrate Judge finds no implied agreement that these employees be allowed to

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schedule eight-hour sleep breaks during which time they were not required to

cover scheduled or emergency ambulance runs which might occur.

      Therefore, the evidence before the court is that the Plaintiffs’ claims should

not be reduced for sleep or meal periods.

     12. With respect to waiting time, the FLSA regulation governing this issue is

found at 29 C.F.R. § 785.14 and is set forth as follows:

      Whether waiting time is time worked under the Act depends upon
      particular circumstances. The determination involves “scrutiny and
      construction of the agreements between particular parties, appraisal
      of their practical construction of the working agreement by conduct,
      consideration of the nature of the service, and its relation to the
      waiting time, and all of the circumstances. Facts may show that the
      employee was engaged to wait or they may show that he waited to be
      engaged.” (Skidmore v. Swift, 323 U.S. 134 (1944)). Such questions
      “must be determined in accordance with common sense and the
      general concept of work or employment.” (Central Mo. Tel. Co. v.
      Conwell, 170 F. 2d 641 (C.A. 8, 1948)).

      13. In this case, the preponderance of the evidence shows that these

employees were “engaged to wait,” rather than being “waiting to be engaged.” The

Defendant was, by the nature of its business, required to have staff available at

any time for transportation of patients from nursing homes to doctor’s

appointments. These services regularly required transportation at night to and

from hospitals and nursing homes. While the Plaintiffs undoubtedly had some

waiting time, and were allowed to use that waiting time in some manner, they

were not free to leave the premises or to engage in activities that could not be

discontinued upon very short notice to begin the transportation services that were

to be provided. This is not the case in which the Defendant engaged more people

than were necessary to accomplish their services, and those employees were

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compensated only when they were actually called into service on a particular day

or time. In addition, the Defendant has not tendered any specific evidence from

which the court can do more than speculate as to how much time would be

construed as waiting time for any particular person, job, or time period. In this

case, the Magistrate Judge concludes that there is no waiting time which must be

deducted from the Plaintiffs’ records in this case.


III.   Findings of Fact and Conclusions of Law Under Plaintiffs’ Vacation
       Time Claims

       14. The Plaintiffs testified that Richard Felker, Thomas Felker, and Brock

Thuis were provided with three 24-hour shifts of paid vacation time per year after

they had been employed over one year.

       15. The Magistrate Judge has reviewed the payroll records made a part of

Exhibit 1 with respect to vacation pay. In each instance, the records reflect that

for a particular pay period a Plaintiff was paid a particular “contract pay” amount,

an additional “on-call pay” amount, and for that particular pay period there is a

denomination of either “plus 1” or “plus 2” “vac.” Following these two columns is

a column entitled “Gross” which appears to be the totals of the “Contract Pay”

plus the “On-call Pay” for the particular pay period. In addition to these records,

the Magistrate Judge reviewed the remaining pay stubs tendered. A review of

those documents shows that on each pay stub, there are places for “Paid Time Off

for Sick and Vacation Time” to be recorded on the pay stub. None of those records

reflect that any vacation paid time off was “Used.” Therefore, from a review of the

records before the court, the Magistrate Judge is unable to determine with any

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precision whether, during the pay period claimed, a particular Plaintiff actually

took vacation time which would have resulted in working less than 40 hours in a

particular week. In this case, the failure of the employer to keep appropriate

records from which such calculations should be based is – as described in the

legal authority above – a failure of the Defendant to establish that the Plaintiffs

were properly paid.

      16. Therefore, in this case, the Magistrate Judge concludes that the

Defendant has failed to prove by a preponderance of the evidence that the

Plaintiffs were properly paid during the time periods in which they took vacation.


IV.     Findings of Fact and Conclusion of Law as to the Amounts Owed for
        Violations of the Fair Labor Standards Act

      17. The Plaintiffs have proven by sufficient evidence that they worked 24-

hour shifts and that as a rule they worked over 40 hours in a work week. Their

summaries are just and reasonable inferences of the amount and extent of their

work.

      18. The Defendant’s records are not adequate, and the defendant has failed

in its burden to come forward with evidence “of the precise amount of work

performed or with evidence to negate the reasonableness of the inference to be

drawn from the employee’s evidence.” Henderson, 328 U.S. at 687-88.

      19. Because the Defendant has been unable to establish that appropriate

deductions can be made for sleep time, meal breaks, “waiting time,” or vacation

time, the Court will conclude that the plaintiffs’ Summary of Damages (Exhibits 2-

6) are the correct measure of damages, and that the appropriate damage awards

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are as follows under a two-year statute of limitations for violation of the Fair Labor

Standards Act.

                         Richard Felker – $20,470.49

                         Thomas Felker – $13,158.43

                         Brock Thuis - $9,310.58

                         Gina Bogdan – $3,858.38

     20. The Defendant would be liable for damages for a three-year period of

time if its actions were “willful” under and the “Portal-to-Portal Pay Act” found at

29 U.S.C. § 255. The standard for “willfulness” adopted in Transworld Airlines,

Inc. v. Thurston, 469 U.S. 111, 105 S.Ct. 613, 83 L.Ed.2d 523 (1985), requires that

the employer either knew or showed reckless disregard as to whether its conduct

was prohibited by the statute. The evidence before this Court does not establish

that the Defendant or its agents actually knew they were violating the statute.

The decision about whether these Plaintiffs, who work unusual shifts, were

entitled to overtime was a difficult decision for this Court to make, and the Court

cannot conclude that the Defendant “recklessly disregarded” its obligation under

the Act. The Court, therefore, declines to award damages for a third year of

violation.


                                    Conclusion

      Based upon these findings, Judgment shall issue on behalf of each Plaintiff

and against Defendant, Southwestern Emergency Medical Services, Inc., in the

combined amounts of damages for Breach of Contract, for Indiana Wage Payment



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violations, and for violation of the Fair Labor Standards Act. Pursuant to

FED.R.CIV.P. 54(d)(1), costs are allowed to the prevailing parties. Pursuant to

FED.R.CIV.P. 54(d)(2), any motion for attorneys’ fees and related non-taxable

expenses shall be filed within fourteen (14) days of the entry of judgment.




Entered: September 8, 2008
                                               _______________________________
                                                WILLIAM G. HUSSMANN, JR.
                                                     Magistrate Judge

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